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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK




IN RE PETROBRAS SECURITIES                            Case No. 14-cv-9662 (JSR)
LITIGATION
                                                      CLASS ACTION




               NOTICE OF CLASS REPRESENTATIVES’ MOTION
         FOR AUTHORIZATION TO DISTRIBUTE NET SETTLEMENT FUND

       PLEASE TAKE NOTICE that, upon the accompanying Declaration of the Claims

Administrator in Support of Class Representatives’ Motion for Approval of Distribution Plan

(the “Amin-Giwner Declaration”), the Independent Accountants’ Report on Applying Agreed-

Upon Procedures prepared by EisnerAmper attached to the Amin-Giwner Declaration as Exhibit

C, the Declaration of Jeremy A. Lieberman in Support of Class Representatives’ Motion for

Authorization to Distribute Net Settlement Fund, and the Memorandum in Support of Class

Representatives’ Motion for Authorization to Distribute Net Settlement Fund, Class

Representatives Universities Superannuation Scheme Limited, Employees Retirement System of

the State of Hawaii and North Carolina Department of State Treasurer, through Class Counsel,

move this Court for entry of the accompanying [Proposed] Order Granting Authorization to

Distribute the Net Settlement Fund.       That order will, inter alia: (1) approve the Court

Administrator’s (“Epiq”) administrative recommendations accepting and rejecting Claims

submitted in the action; (2) direct the distribution of the Net Settlement Fund to Claimants whose

Claims have been accepted as valid and approved by the Court; (3) approve Class Counsel’s

expenses incurred since its May 1, 2018 Motion for an Award of Attorneys’ Fees and

Reimbursement of Litigation Expenses (Dkt. No. 731); (4) approve Epiq’s fees and expenses
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incurred in connection with the class certification and settlement phases of the Action;

(5) approve EisnerAmper’s fees and expenses incurred in connection with its work on this

matter; (6) authorize the destruction of paper copies of Claims one year from the time the

Settlement Fund is completely exhausted and dispose of electronic copies of the same three years

after the Settlement Fund is completely exhausted; and (7) provide that the Court retains

jurisdiction to consider any further applications concerning the administration of the Settlements,

and such other and further relief as the Court deems appropriate.

Dated: New York, New York
       September 20, 2019                            Respectfully submitted,

                                                     POMERANTZ LLP

                                                     By: /s/Jeremy A. Lieberman
                                                     Jeremy A. Lieberman
                                                     Emma Gilmore
                                                     Brenda Szydlo
                                                     Jennifer B. Sobers
                                                     600 Third Avenue, 20th Floor
                                                     New York, NY 10016
                                                     Telephone: (212) 661-1100
                                                     Facsimile: (917) 463-1044
                                                     Email: jalieberman@pomlaw.com
                                                     egilmore@pomlaw.com
                                                     bszydlo@pomlaw.com
                                                     jbsobers@pomlaw.com

                                                     Counsel for Class Representatives and the
                                                     Settlement Class




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                               CERTIFICATE OF SERVICE


       I hereby certify that on September 20, 2019, a copy of the foregoing Notice Of Class

Representatives’ Motion For Authorization To Distribute Net Settlement Fund; and concurrently

filed Proposed Order;     Memorandum In Support Of Class Representatives’ Motion For

Authorization To Distribute Net Settlement Fund; Declaration Of Jeremy A. Lieberman In

Support Of Class Representatives’ Motion For Authorization To Distribute Net Settlement Fund,

along with accompanying Exhibits; and Declaration Of The Claims Administrator In Support Of

Class Representatives’ Motion For Approval Of Distribution Plan and accompanying Exhibits,

was filed electronically on the Court’s electronic filing system. Parties may access this filing

through the Court’s CM/ECF System.



                                            /s/Ariana Barbosa
                                              Ariana Barbosa




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